         Case 1:21-cv-08844-MKV Document 12 Filed 11/01/21 Page 1 of 2
                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     November 1, 2021
VIA ECF
The Honorable Mary Kay Vyskocil                                                 USDC SDNY
United States District Judge                                                    DOCUMENT
United States Courthouse                                                        ELECTRONICALLY FILED
500 Pearl Street                                                                DOC #:
New York, NY 10007-1312                                                         DATE FILED: 

       Re:     Los Rodriguez Deli & Grocery Co., et al. v. United States of America, et al.,
               21 Civ. 8844 (MKV)

Dear Judge Vyskocil:

        This Office represents defendants United States of America, United States Department of
Agriculture Food and Nutrition Service, Administrative Review Officer (the “Government”) in
the above-referenced action in which plaintiffs Los Rodriguez Deli & Grocery Co. and Juan
Antonio Rodriguez (“Plaintiffs”) challenge their six-month disqualification from the federal
Supplemental Nutrition Assistance Program (“SNAP”). On October 29, 2021, Plaintiffs filed an
Emergency Motion for an Order to Show Cause, Temporary Restraining Order, and Preliminary
Injunction for a stay prohibiting Defendants from disqualifying Plaintiffs from the SNAP
pending resolution of this action (“Emergency Motion”). ECF No. 3. On October 29, the Court
entered a Scheduling Order directing the Government to respond to Plaintiffs’ Emergency
Motion by 2:00 p.m. on November 1, 2021, and scheduling a telephonic hearing on the motion
for November 2 at 2:00 p.m. ECF No. 8.

        I write to advise the Court that the Government will not oppose a stay of Plaintiffs’
disqualification from the SNAP pending resolution of this action. The parties are currently
drafting a stipulation of stay which we will submit for the Court’s signature shortly.

        Accordingly, the Government respectfully requests that the Court deny Plaintiffs’
Emergency Motion as moot and vacate the Scheduling Order as the Government has consented
to the relief requested. Counsel remain available to participate in tomorrow’s hearing if the
Court wishes to proceed. I thank the Court for its consideration of this matter.
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                                                          Respectfully,

                                                          DAMIAN WILLIAMS
                                                          United States Attorney for the
                                                          Southern District of New York

                                                  By:     /s/ Carly Weinreb
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     Cc:    George Ortiz, Esq., Counsel for Plaintiffs (by ECF)




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